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  ​ enezuela’s U.S.-backed opposition leader Juan Guaidó outside a Caracas air force base on April 30. RAFAEL
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  Venezuelan Businessman Joined Plot to Oust Maduro—
  and Escape Sanctions
  Media mogul Raul Gorrín played a central role in ill-fated scheme that sought to persuade top
  officials to help opposition take power, in exchange for having their U.S. sanctions lifted

  By Kejal Vyas          Follow    , Juan Forero          Follow     and José de Córdoba
  Updated May. 27, 2019 5:26 pm ET


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  CARACAS, Venezuela—To tempt senior Venezuelan officials to turn on their president,
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                          recently turned to a wealthy Venezuelan businessman wanted in Florida
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  Raúl Gorrín, seen here in 2013, is a wealthy businessman
                                                      SHARE who owns a majorTEXT insurance company and    the television
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  outlet Globovision. He was a key figure in the failed uprising, according to people familiar with the matter.
  PHOTO: EL NACIONAL/GDA/ZUMA PRESS


  Raúl Gorrín, who amassed a fortune while forging alliances with figures in President Nicolás
  Maduro’s government, played a central role in an ill-fated scheme in late April to induce the
  defense minister, the supreme court’s chief justice and the head of military
  counterintelligence to push out Mr. Maduro, according to people familiar with the matter.

  Mr. Gorrín had a simple pitch when he met with the regime figures: In exchange for helping
  opposition leaders unseat Mr. Maduro, U.S. officials would, as a quid pro quo, lift sanctions
  imposed on them for alleged corruption and rights abuses, these people said. They could then
  travel freely and access their money.

  The plan called for the top court to issue a decree shifting power from the president to the
  opposition-controlled National Assembly and its U.S.-backed leader, Juan Guaidó. At the same
  time, the court would give the military legal authority to act against Mr. Maduro.

  The effort, however, failed on April 30 in a confusing uprising marked by street clashes and
  the deaths of five people. In its aftermath, Mr. Maduro leveled rebellion charges against
  several lawmakers allied with Mr. Guaidó and arrested the vice president of congress.
  Weakened, the opposition has agreed to begin talks with the regime in Norway this week,
  though many opposition leaders accuse Mr. Maduro of using previous negotiations to buy
  time.

  Despite the plot’s failure, U.S. officials and opposition leaders say American sanctions on more
  than 100 Venezuelan officials have succeeded in tempting regime insiders to engage with the
  opposition—leverage that they want to keep using. The sanctions bar officials from retrieving
  cash from U.S. banks or using properties in Florida, New York and elsewhere.



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  “We have been messaging people in the regime publicly and repeatedly that we are absolutely
  willing to remove sanctions on any individual who assists in restoring democracy to
  Venezuela,” said Elliott Abrams, the U.S. special envoy for Venezuela. Senior U.S. officials
  declined to comment on Mr. Gorrín’s role in trying to enlist regime officials in turning on Mr.
  Maduro.

  An opposition figure briefed on the talks said the sanctions had forced officials to question the
  cost of their allegiance. “They have unsettled the officials in Maduro’s government, and they
  also created panic for the families that have been sanctioned,” the person said.




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  Venezuelan President Nicolás Maduro is flanked by Defense Minister Vladimir Padrino, right, and Gen. Ivan Hernández,
  second from right, head of military counterintelligence, in this April photo in Caracas. Their cooperation was sought
  under the opposition-backed plot to oust Mr. Maduro.
  PHOTO: ARIANA CUBILLOS/ASSOCIATED PRESS


  The Maduro government declined to respond to calls seeking comment.

  Members of the opposition who orchestrated the April plan viewed Mr. Gorrín as a valuable
  ally because of his close ties with Supreme Court Chief Justice Maikel Moreno, Defense
  Minister Vladimir Padrino and Gen. Ivan Hernández, head of military counterintelligence.

  Messrs. Moreno, Padrino and Hernández didn’t return messages seeking comment. Soon after
  the attempt to remove Mr. Maduro, Messrs. Moreno and Padrino publicly rejected the plan.

  Mr. Gorrín’s role in the plot, first outlined by Venezuelan news site ArmandoInfo, was
  motivated by his desire to clean up his image before U.S. justice, said people who know him.
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  An indictment unsealed in Miami in November charged him with money laundering and
  bribery. He is accused in separate cases of conspiring to move $2 billion of embezzled
  Venezuelan state funds, over a decade beginning in 2008, through bank accounts in Panama,
  Switzerland and the U.S. Federal authorities seized 24 of his properties, including a
  waterfront estate in South Florida and apartments on Manhattan’s East Side.




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                   Mike Pence in early May said the U.S. will offer aid to Venezuelans in the form of food, supplies, and
  medical
  Sign in toaid. He alsoreading
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                                The sanctions relief
                                    Wall Street      for those who stand against the Maduro regime. Photo: Bloomberg
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  Then in January, the U.S. Treasury blacklisted
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  that bribed Venezuelan officials to run currency scams that netted $2.4 billion. By that time,
  he was back in Caracas, having fled after the U.S. issued an arrest warrant, the Justice
  Department said.

  “All these guys want to move their money,” said a person familiar with the plan put in place to
  remove Mr. Maduro. “Gorrín’s motivation is the motivation of all of them. What good is it to
  have all that money if you’re trapped in Caracas?”

  Mr. Gorrín didn’t respond to requests for comment. His friends and business partners reject
  corruption allegations and say he is being smeared for running successful ventures under an
  authoritarian regime.

  “There’s a campaign to discredit him,” said Oscar Schemel, a pollster close to the government
  who hosts a political debate show on Globovision.

  Mr. Gorrín had clocked a remarkable rise. Raised in a working-class Caracas family, he went in
  a decade from a legal aide in a Caracas criminal court to the influential owner of an insurance
  company and television news outlet, Globovision. After his takeover, the 24-hour news
  station, known for its feisty coverage of the government, pushed a much softer line.



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  U.S. federal authorities seized 24 of Raul Gorrin's
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  November and have accused him of conspiring to launder $2 billion of embezzled Venezuelan state
  funds. Among the properties were a waterfront estate in South Florida and apartments on Manhattan’s
  East Side.




  Sale Price: $3,500,000                          Sale Price: $3,500,000                          Sale Price: $12,800,000
  House                                           House                                           Apartment, 1 unit
  Coral Gables, Florida                           Coral Gables, Florida                           Sunny Isles Beach, Florida




  Sale Price: $1,020,000                          Sale Price: $4,191,660                          Sale Price: $18,837,625
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  In 2015, the Venezuelan attorney general’s office under Luisa Ortega—now in exile in
  Colombia—investigated whether Mr. Gorrín and associates bribed Venezuelan treasury
  officials to take advantage of rigid exchange controls, documents compiled by prosecutors
  show.

  Mr. Gorrín’s network moved $4.6 billion in assets out of the treasury over two years, said Zair
  Mundaray, Ms. Ortega’s No. 2 prosecutor, who is now in exile. He said Venezuelan prosecutors
  never charged Mr. Gorrín because they believed his close connections to first lady Cilia Flores
  and Supreme Court Chief Justice Moreno and other judges would protect him from justice.




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  Supreme Court President Maikel Moreno delivering a press conference in Caracas on May 8. Mr. Gorrín was accused by
  U.S. officials of laundering money for Mr. Moreno, who was sanctioned by the U.S. in 2017.
  PHOTO: RAUL MARTINEZ/EFE/ZUMA PRESS


  “Gorrín had complete control over the supreme court,” Mr. Mundaray said.

  With U.S. investigators bearing down on him in 2017, Mr. Gorrín lobbied officials in
  Washington to broker a political out for Mr. Maduro’s hard-pressed regime, according to
  people familiar with the outreach.

  Mr. Gorrín’s efforts bore some fruit in April, 2018, when he organized a visit for Pete Sessions,
  then a Republican congressman from Texas and powerful head of the House Rules Committee,
  to Caracas for meetings with Mr. Maduro and other top officials over two days to discuss a
  detailed plan for a political transition.



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     went with the purpose of brokering a deal,” Mr. Sessions, who lost his race for reelection in
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                                elaborate   onJournal.
                                                the details of a proposed deal.

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  Mr.in
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        to continue met with Florida Republican Sen. Marco Rubio, an architect of TrumpSIGN
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  toward Venezuela said two people familiar with the meeting Mr Rubio declined to comment
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  toward Venezuela, said two people familiar with the meeting. Mr. Rubio declined to comment.
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  U.S. Vice President Mike Pence, left, met with Raul Gorrín in Florida in 2017.
  PHOTO: MIAMI HERALD/TNS/ZUMA PRESS


  Mr. Gorrín presented himself to Trump administration officials as a well-connected insider.
  “He would say things like, ‘I will take this back to Nicolás,’ or ‘This message comes from El
  Presidente,’” said a person familiar with Mr. Gorrín’s outreach efforts.

  White House officials were suspicious of his ties to the Maduro regime. “He gave an indication
  he wanted to be a player, but we never trusted him,” said Fernando Cutz, a former National
  Security Council adviser who worked on Venezuela issues.

  But Mr. Gorrín had long had ties with people in the opposition, and by the time he left the U.S.
  for Caracas sometime in 2018 he served as emissary between the opposition and regime
  insiders open to deposing Mr. Maduro, according to a leading opposition figure.

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  Mr. Moreno, the supreme-court chief, a former bodyguard and intelligence agent close to the
  first lady, was particularly important to the opposition plot. He had been sanctioned in May
  2017 along with seven members of the high court for rulings that usurped power from the
  democratically elected National Assembly and allowed Mr. Maduro to consolidate his grip.

  The sanctions deeply worried Mr. Moreno and his wife, Debora Sacha Menicucci, a beauty
  pageant contestant who won Miss Venezuela World 2014, said an opposition figure briefed on
  how the sanctions lure was used in talks.

  His wife “wants to enjoy the home overseas, the jewelry, the shoes,” this person said.

  Mr. Gorrín had a particularly tantalizing calling card for regime figures he contacted: The
  Treasury Department in March had taken the unusual step of removing his wife from the list
  of those who had been sanctioned, along with the wife of his business partner.

  “The message was, there’s a way out,” said a person familiar with the negotiations. “It’s
  telling them, ‘We’re serious.’”

  Corrections & Amplifications
  Raúl Gorrín’s role in the plan to push out President Nicolás Maduro was first outlined on a
  Venezuelan news site, ArmandoInfo. An earlier version of this article incorrectly stated that it
  hadn’t been previously reported. (May 27, 2019)

  Write to Kejal Vyas at kejal.vyas@wsj.com, Juan Forero at Juan.Forero@wsj.com and José de
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  Appeared in the May 28, 2019, print edition as 'Businessman Joined Bid to Oust Maduro'.




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